             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                          WESTERN DIVISION

UNITED STATES OF AMERICA,              Case No. 4:24-CR-00291-001/002-DGK

                  Plaintiff,           COUNT ONE:
                                       (Conspiracy to Traffic Firearms)
      v.                               Both Defendants
                                       18 U.S.C. §§ 933(a)(1), (3), and (b)
ERNEST L. HALL, (01),                  NMT: 15 Years Imprisonment
[DOB: 05/07/1963]                      NMT: $250,000 Fine
                                       NMT: 3 Years Supervised Release
and                                    Class C Felony

RODNEY O. ELLISON, (02),               COUNT TWO:
[DOB: 09/30/1967]                      (Engaging in Firearm Sales Without a License)
                                       Both Defendants
                  Defendants.          18 U.S.C. §§ 922(a)(1)(A), 923(a), and
                                       924(a)(1)(D)
                                       NMT: 5 Years Imprisonment
                                       NMT: $250,000 Fine
                                       NMT: 3 Years Supervised Release
                                       Class D Felony

                                       COUNTS THREE, FOUR, FIVE, SIX, SEVEN,
                                       EIGHT, NINE, and TEN:
                                       (Trafficking Firearms)
                                       Ct. 3, 4, 8, 9 – Defendant Ernest L. Hall
                                       Ct. 3, 5, 6, 7, 8, 10 – Defendant Rodney O. Ellison
                                       18 U.S.C. §§ 933(a)(1) and (b)
                                       NMT: 15 Years Imprisonment
                                       NMT: $250,000 Fine
                                       NMT: 3 Years Supervised Release
                                       Class C Felony

                                       COUNT ELEVEN:
                                       (Felon in Possession of Firearms)
                                       Defendant Rodney O. Ellison
                                       18 U.S.C. §§ 922(g)(1) and 924(a)(8)
                                       NMT 15 Years’ Imprisonment
                                       NMT: $250,000
                                       NMT: 3 Years’ Supervised Release
                                       Class C Felony




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                                                 COUNT TWELVE:
                                                 (Felon in Possession of Firearm)
                                                 Defendant Ernest L. Hall
                                                 18 U.S.C. §§ 922(g)(1) and 924(a)(8)
                                                 NMT 15 Years’ Imprisonment
                                                 NMT: $250,000
                                                 NMT: 3 Years’ Supervised Release
                                                 Class C Felony

                                                 FORFEITURE ALLEGATIONS
                                                 Both Defendants
                                                 18 U.S.C. §§ 924(d) & 934; 28 U.S.C. § 2461(c)

                                                 $100 Mandatory Special Assessment For Each
                                                 Count

                                        INDICTMENT

        THE GRAND JURY CHARGES THAT:

                                       COUNT ONE
                               (Conspiracy to Traffic Firearms)

        Between on or about June 15, 2024, and on or about November 26, 2024, said dates being

approximate, in the Western District of Missouri and elsewhere, the defendants, ERNEST L.

HALL and RODNEY O. ELLISON, knowingly and intentionally combined, conspired,

confederated and agreed with each other, and with other persons unknown to the Grand Jury, to

ship, transport, transfer, cause to be transported, or otherwise dispose of firearms, to wit, the

following firearms:

    x   A Smith & Wesson, Model SD9VE, 9mm caliber pistol, bearing Serial Number
        FWT4113;

    x   A Canik, Model TP9SA, 9mm caliber pistol, bearing Serial Number T647215AT33307;

    x   A Canik, Model TP9SA, 9mm caliber pistol, bearing Serial Number T6472-22AP00020;

    x   A Hi-Point, Model 995, 9mm caliber rifle, bearing Serial Number B25304;

    x   A Davis Industries, Model P, .380 caliber pistol, bearing Serial Number AP016124;




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    x   A Mossberg International (CBC), Model 715P, .22 caliber long rifle pistol, bearing
        Serial Number CP2204953;

    x   A Palmetto State, Model PA-15, 5.56/2.23 caliber pistol, bearing Serial Number
        SCB742294;

    x   An Anderson Manufacturing, Model AM-15, AR-style pistol bearing Serial Number
        24115968;

    x   An Anderson Manufacturing, Model AM-15, AR-style pistol bearing Serial Number
        2404432; and

   x    An Anderson Manufacturing, Model AM-15, AR-style pistol bearing Serial Number
        24141464

to another person in or otherwise affecting commerce, knowing or having reasonable cause to

believe that the use, carrying, or possession of the firearm by the recipient would constitute a

felony, in violation of Title 18, United States Code, Sections 933(a)(1), (3) and (b).

                                       COUNT TWO
                        (Engaging in Firearm Sales Without a License)

        Between on or about June 15, 2024, and on or about November 26, 2024, said dates being

approximate, in the Western District of Missouri and elsewhere, the defendants, ERNEST L.

HALL and RODNEY O. ELLISON, neither being licensed dealers of firearms within the meaning

of Chapter 44, Title 18, United States Code, did willfully engage in the business of dealing in

firearms, contrary to the provisions of Title 18, United States Code, Sections 922(a)(1)(A), 923(a),

924(a)(1)(D) and 2.

                                        COUNT THREE
                                     (Trafficking a Firearm)

        On or about June 18, 2024, in the Western District of Missouri, the defendants, ERNEST

L. HALL and RODNEY O. ELLISON, did ship, transport, transfer, cause to be transported, or

otherwise dispose of a firearm, to wit: a Smith & Wesson, Model SD9VE, 9mm caliber pistol,

bearing Serial Number FWT4113, to another person in or otherwise affecting commerce, knowing



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or having reasonable cause to believe that the use, carrying, or possession of the firearm by the

recipient would constitute a felony, in violation of Title 18, United States Code, Sections 933(a)(1)

and (b), and 2.

                                        COUNT FOUR
                                     (Trafficking a Firearm)

       On or about June 26, 2024, in the Western District of Missouri, the defendant, ERNEST L.

HALL, did ship, transport, transfer, cause to be transported, or otherwise dispose of a firearm, to

wit: a Canik, Model TP9SA, 9mm caliber pistol, bearing Serial Number T647215AT33307, to

another person in or otherwise affecting commerce, knowing or having reasonable cause to believe

that the use, carrying, or possession of the firearm by the recipient would constitute a felony, in

violation of Title 18, United States Code, Sections 933(a)(1) and (b).

                                         COUNT FIVE
                                     (Trafficking a Firearm)

       On or about June 27, 2024, , in the Western District of Missouri, the defendant, RODNEY

O. ELLISON, aiding and abetting another individual known to the grand jury, did ship, transport,

transfer, cause to be transported, or otherwise dispose of a firearm, to wit: a Canik, Model TP9SA,

9mm caliber pistol, bearing Serial Number T6472-22AP00020, to another person in or otherwise

affecting commerce, knowing or having reasonable cause to believe that the use, carrying, or

possession of the firearm by the recipient would constitute a felony, in violation of Title 18,

United States Code, Sections 933(a)(1) and (b), and Section 2.

                                          COUNT SIX
                                     (Trafficking a Firearm)

       On or about July 7, 2024, in the Western District of Missouri, the defendant, RODNEY O.

ELLISON, did ship, transport, transfer, cause to be transported, or otherwise dispose of a firearm,

to wit: a Hi-Point, Model 995, 9mm caliber rifle, bearing Serial Number B25304, to another person



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in or otherwise affecting commerce, knowing or having reasonable cause to believe that the use,

carrying, or possession of the firearm by the recipient would constitute a felony, in violation of

Title 18, United States Code, Sections 933(a)(1) and (b).

                                        COUNT SEVEN
                                     (Trafficking a Firearm)

       On or about July 24, 2024, in the Western District of Missouri, the defendant, RODNEY

O. ELLISON, did ship, transport, transfer, cause to be transported, or otherwise dispose of a

firearm, to wit: a Davis Industries, Model P, .380 caliber pistol, bearing Serial Number AP016124,

to another person in or otherwise affecting commerce, knowing or having reasonable cause to

believe that the use, carrying, or possession of the firearm by the recipient would constitute a

felony, in violation of Title 18, United States Code, Sections 933(a)(1) and (b).

                                        COUNT EIGHT
                                     (Trafficking Firearms)

       On or about November 19, 2024, in the Western District of Missouri, the defendants,

ERNEST L. HALL and RODNEY O. ELLISON, did ship, transport, transfer, cause to be

transported, or otherwise dispose of firearms, to wit: a Mossberg International (CBC), Model 715P,

.22 caliber long rifle, bearing Serial Number CP2204953; and a Palmetto State, Model PA-15,

5.56/2.23 caliber pistol, bearing Serial Number SCB742294, to another person in or otherwise

affecting commerce, knowing or having reasonable cause to believe that the use, carrying, or

possession of the firearms by the recipient would constitute a felony, in violation of Title 18,

United States Code, Sections 933(a)(1) and (b), and 2.

                                         COUNT NINE
                                     (Trafficking a Firearm)

       On or about November 25, 2024, in the Western District of Missouri, the defendant,

ERNEST L. HALL, did ship, transport, transfer, cause to be transported, or otherwise dispose of



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a firearm, to wit: an Anderson Manufacturing, Model AM-15, AR-15 style pistol, bearing Serial

Number 24115968, to another person in or otherwise affecting commerce, knowing or having

reasonable cause to believe that the use, carrying, or possession of the firearm by the recipient

would constitute a felony, in violation of Title 18, United States Code, Sections 933(a)(1) and (b).

                                          COUNT TEN
                                      (Trafficking Firearms)

       On or about November 25, 2024, in the Western District of Missouri, the defendant,

RODNEY O. ELLISON, did ship, transport, transfer, cause to be transported, or otherwise dispose

of firearms, to wit: an Anderson Manufacturing, Model AM-15, AR-style pistol, bearing Serial

Number 24044432; and an Anderson Manufacturing, Model AM-15, AR-style pistol, bearing

Serial Number 24141464, to another person in or otherwise affecting commerce, knowing or

having reasonable cause to believe that the use, carrying, or possession of the firearm by the

recipient would constitute a felony, in violation of Title 18, United States Code, Sections 933(a)(1)

and (b).

                                      COUNT ELEVEN
                               (Felon In Possession Of Firearms)

       On or about November 26, 2024, in the Western District of Missouri, the defendant,

RODNEY O. ELLISON, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed, in and affecting commerce,

firearms, to wit: a Heckler and Koch (HK), Model VP9, 9mm pistol, bearing Serial Number 224-

112669; an Anderson Manufacturing, Model AM-15, AR-style pistol, bearing Serial Number

24080840; a Hi Point, Model JCP, .40 caliber pistol, bearing an apparent obliterated serial number;

a Remington, Model 550-1, .22 caliber rifle, with no visible serial number; a Hi Point, Model JCP,

.40 caliber pistol, bearing Serial Number X7289247; and a Glock, Model 33 (Gen 4), .357 caliber




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pistol, bearing Serial Number BBAV81; each of which had been transported in interstate

commerce, all in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).

                                        COUNT TWELVE
                                (Felon In Possession Of A Firearm)

        On or about November 26, 2024, in the Western District of Missouri, the defendant,

ERNEST L. HALL, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed, in and affecting commerce, a

firearm, to wit: a Taurus, Model G2G, 9mm pistol, bearing Serial Number TLM86436, which had

been transported in interstate commerce, all in violation of Title 18, United States Code, Sections

922(g)(1) and 924(a)(8).

                               FORFEITURE ALLEGATION ONE

                The allegations contained in Counts 1, 3, 4, 5, 6, 7, 8, 9, and 10, above are hereby

incorporated as though fully set forth herein for the purpose of charging criminal forfeiture to the

United States of America pursuant to Title 18, United States Code, Section 934.

        As a result of committing the firearms trafficking offenses alleged in Counts 1, 3, 4, 5, 6,

7, 8, 9, and 10, of the Indictment, ERNEST L. HALL and RODNEY O. ELLISON shall forfeit to

the United States, pursuant to Title 18, United States Code, Section 934, any and all property

constituting, or derived from, any proceeds obtained directly or indirectly, as a result of the said

violations, and any property used, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of the said violations, including but not limited to a forfeiture money

judgment representing proceeds the defendants personally obtained, directly and indirectly, as a

result of their participation in the firearms trafficking offenses alleged in Counts, 1, 3, 4, 5, 6, 7, 8,

9, and 10.




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                                     SUBSTITUTE ASSETS

       If any of the property described above, as a result of any act or omission of the defendants:

               a. cannot be located upon the exercise of due diligence;

               b. has been transferred or sold to, or deposited with, a third party;

               c. has been placed beyond the jurisdiction of the Court;

               d. has been substantillly diminished in value; or

               e. has been commingled with other property which cannot be divided without
                  difficulty,

the United States of America shall be entitled to forfeiture of substitute property purusant to Title

18, United States Code, Section 934.

                             FORFEITURE ALLEGATION TWO

               The allegations contained in Counts 11 and 12 above are hereby incorporated as

though fully set forth herein for the purpose of charging criminal forfeiture to the United States of

America pursuant to Title 18, United States Code, Section 924(d) and Title 28, United States Code,

Section 2461(c).

       Upon conviction of the offenses alleged in Count 11 or 12 of the Indictment, ERNEST L.

HALL and RODNEY O. ELLISON shall forfeit to the United States any firearms and ammunition

involved or used in the commission of the offenses.

                                                      A TRUE BILL.


December 17, 2024                                     SIGNATURE ON FILE WITH USAO
DATE                                                  FOREPERSON OF THE GRAND JURY


/s/D. Michael Green
D. Michael Green
Assistant United States Attorney
Violent Crime & Drug Trafficking Unit One
Western District of Missouri


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